        Case 1:19-cv-11453-JGK Document 28 Filed 11/09/20 Page 1 of 1



                                                  &-
         Case 1:19-cv-11453-JGK Document 27 Filed 11/06/20 Page 1 of 1


                             I PHILLIPS
                                           Attorneys at Law
                         45 BROADWAY, S UITE 430, NEW YORK, N EW YORK 10006
                                TEL: (212)248-7431 FAX: (2 12) 901-2107
                                  WWW .NYCEMPLOYMENT ATTORNEY.COM
                                    A PROFESS IONAL LIM ITED LIABI LITY COMPANY




                                                                           November 6, 2020


Via ECFOnly
Honorable John G. Koeltl
United States District Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007


       Re:        Paulette St. Jena v. Cambridge Security Services Corporation, et al.
                  Docket No.: 1: 19-CV-11453 (JGK) (SLC)
                  First Request for Adjournment of Court Conference


Dear Judge Koeltl:

       This office represents Plaintiff Paulette St. Jean in the above-referenced matter. Pursuant
to Your Honor's Rule 1(E), Plaintiff writes to respectfully request an adjournment of the oral
argument currently scheduled for November 20, 2020, due to a scheduling conflict causing
Plaintiffs counsel to be unavailable. Plaintiff has conferred with Defendants and jointly propose
December 29, 2020 or December 30, 2020 as alternative dates for the oral argument.

        This is Plaintiffs first request for adjournment of the oral argument. Defendants consent
to the request. This request does not affect any other scheduled dates.

       We thank the Court for its time and attention to this matter.


    /iOJOt/f\-tV(b         vO                                              Respectfully Submitted,
    vJ (c J o;t 1 1      of CB r" ar:~ ,1
                                                                           Isl Yusha D. Hiraman
     p-(JJO         Av     1:JDfr-.                                        Gregory Calliste Jr., Esq.
              I                                                            Yusha D. Hiraman, Esq.
              SO 0/1-'(/ 6 IL (0 ,
